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IN THE UNITED sTATES DISTRICT CoURT Fn.ED rev _
FoR THE WESTERN DISTRICT oF TENNESSEE _ '
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UNI_TED STATES oF AMERICA ) W@ @F `=’ zir-l;it€?H:s
)
Plaintiff, )
)
vs ) cR. No. 04_20311-01-13
) 05-20164-01_13 ./
TERESA FLEMING, )
)
Defendant. )

 

ORDER TO SURRENDER

 

The defendant, Teresa Fleming, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Couit to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Marianna,
3625 FCI Road, Marianna, FL 32446 by 2:00 p.m. on WEDNESDAY, SEPTEMBER 21, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant Shall
report immediately to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Roorn 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTEREI) this the ZJCR day of August, 2005.

/

. ANIEL BRl`z:EN `\
U ITEI) STATES DISTRICT JUDGE

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ACKNOWLEDGEMENT

l agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

     
 

  

UNITED sTATE D"ISIC COURT - WESRNTE D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20164 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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U.S. ATTORNEY'S OFFICE
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Honorable .l. Breen
US DISTRICT COURT

